Case 2:17-cv-14093-GAD-APP ECF No. 44 filed 09/26/18        PageID.661    Page 1 of 3



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

LANCE ADAM GOLDMAN,

             Plaintiff                            Case No. 2:17-cv-14093
                                                  District Judge Gershwin A. Drain
v.                                                Magistrate Judge Anthony P. Patti

LEE MCROBERTS, MICHAEL DOSS,
ERICK VANDENBURG, CHRISTOPHER
WHITFORD, SCOTT MCALLISTER,
JEROLD SCHNEIDER,
VERA CONERLY,
JAMIE BROCKWELL, and RODNEY
RICHARDSON,

          Defendants.
___________________________________/

     ORDER REGARDING PLAINTIFF’S EMERGENCY REPORT (DE 34)

       Plaintiff Lance Adam Goldman is currently incarcerated at the Michigan

Department of Corrections (MDOC) Baraga Correctional Facility (AMF) in

Michigan’s Upper Peninsula. (DE 33.) On December 19, 2017, while incarcerated

at the MDOC’s G. Robert Cotton Correctional Facility (JCF), Plaintiff filed the

instant lawsuit against 17 defendants. (DE 1 at 2-5.) The Court’s March 26, 2018

opinion and order dismissed eight of the defendants and directed service of the

complaint upon nine of the defendants. (DE 9.)

       Plaintiff has been granted leave to proceed in forma pauperis, and, until very

recently, he was representing himself. (DEs 2, 4; see also DE 6.) On September

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Case 2:17-cv-14093-GAD-APP ECF No. 44 filed 09/26/18        PageID.662      Page 2 of 3



17, 2018, attorney Daniel Manville entered a limited appearance to engage in

discovery on Plaintiff’s behalf. (DE 42.) Each of the remaining Defendants is

alleged to be or have been employed at Parnall Correctional Facility (SMT) and is

represented by the Michigan Department of Attorney General. (DE 1 at 2-5, DE

12.)

       Judge Drain has referred this case to me to for all pretrial proceedings. (DEs

8, 39.) Among the matters which are currently pending before the Court is

Plaintiff’s verified, emergency report dated August 1, 2018 and filed on August 9,

2018. (DE 34.) Within this filing, Plaintiff, inter alia, makes some detailed

allegations about sexual assault, torture and rape by MDOC transportation

employees. According to Plaintiff, there is an "imminent threat" on his life at

Baraga (DE 34 at 12 ¶ 18), which, as noted above, is Plaintiff's current location.

       Given Plaintiff’s counsel’s recent, limited appearance “to engage in

discovery[,]” (DE 42), the prudent approach is have Plaintiff address his

emergency concerns (DE 34) with his counsel, so that his attorney may investigate

further, conduct any necessary discovery and file an appropriate motion if Court

action is necessary.


Dated: September 24, 2018              s/Anthony P. Patti
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE



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Case 2:17-cv-14093-GAD-APP ECF No. 44 filed 09/26/18        PageID.663   Page 3 of 3




                              Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on September 26, 2018, electronically and/or by U.S. Mail.

                                       s/Michael Williams
                                       Case Manager for the
                                       Honorable Anthony P. Patti




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